  Case: 2:14-cr-00223-JLG Doc #: 137 Filed: 02/19/15 Page: 1 of 1 PAGEID #: 299
                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


UNITED STATES OF AMERICA

-vs-                                            Case No. 2:14-CR-223 (11)

April M. Rogers
________________________________


                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to
Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count one of
the Indictment. After examining the Defendant under oath concerning
each of the subjects mentioned in Rule 11, I determine that the
defendant is competent and capable of entering an informed plea, that
the guilty plea is knowingly and voluntary made and that the offenses
charged are supported by an independent basis in fact containing each
of the essential elements of such offense.
            I therefore RECOMMEND the plea agreement and the plea of
guilty should be accepted and the Defendant should be adjudged guilty
and sentenced accordingly. Otherwise, the plea agreement should be
rejected and the defendant should be allowed to withdraw the guilty
plea.



Date:      February 19, 2015                /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE



                                     NOTICE

     Failure to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. Section 636(b)(1)(B).
